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FILED -GR

February 26, 2021 9:30 AM
CLERK OF COURT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

 

UNITED STATES DISTRICT COURT BYJMW SCANNED BY: JM /2~ 26
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION 1:21-cr-43
Robert J. Jonker
UNITED STATES OF AMERICA, Chief U.S. District Judge
Plaintiff,
VS.
JEREMY TYLER SWINK,
FELONY INFORMATION
Defendant.
/

 

The United States Attorney charges:
Operating an Unlicensed Money Transmitting Business
Between approximately March 2017 and December 2018, in Kent County, in the Western
District of Michigan, Southern Division, and elsewhere, the defendant,
JEREMY TYLER SWINK,
unlawfully, willfully, and knowingly conducted and managed all or part of an unlicensed money
transmitting business affecting interstate and foreign commerce, and aided and abetted the same,
while failing to comply with the money transmitting business registration requirements under
Section 5330 of Title 31, United States Code, and regulations prescribed under such section.
Specifically, Christopher Allan Boden, a/k/a “Captain,” Daniel Reynold DeJager, a/k/a “Daniel
Reynold,” a/k/a “Daniel Miester,” a/k/a “Danichi,” Leesa Beth Vogt, a/k/a “Lis Bokt,” a/k/a

“Moose,” and SWINK used The Geek Group, a/k/a the National Science Institute, to transmit

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hundreds of thousands of dollars by means of virtual currency, including bitcoin, without
registering The Geek Group as a money transmitting business under federal law.

18 U.S.C. §§ 1960, 2

ANDREW BYERLY BIRGE
United States Attorney

Date: Z/ a Z\ Dat aa

STIN M. PRESANT
Assistant United States Attorney

 

 

 
